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 In the United States Court of Federal Claims
      Consolidated Case Nos. 17-449, 17-499, 17-493, 17-517, 17-578, 17-558, 17-633
                                Filed: November 20, 2017

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CONTINENTAL SERVICE                 *
GROUP, INC., PIONEER CREDIT         *
RECOVERY, INC., ACCOUNT             *
CONTROL TECHNOLOGY, INC.            *
PROGRESSIVE FINANCIAL               *
SERVICES, INC., VAN RU CREDIT       *
CORPORATION, COLLECTION             *
TECHNOLOGY, INC. ALLTRAN            *
EDUCATION, INC.,                    *
       Plaintiffs,                  *
                                    *
and                                 *
                                    *
COLLECTION TECHNOLOGY, INC.,        *
PROGRESSIVE FINANCIAL SERVICES, *
INC., ALLTRAN EDUCATION, INC.,      *
PERFORMANT RECOVERY, INC.,          *
VAN RU CREDIT CORPORATION, and *
ALLIED INTERSTATE LLC,              *
       Intervenor-Plaintiffs,       *
v.                                  *
                                    *
THE UNITED STATES,                  *
       Defendant,                   *
                                    *
and                                 *
                                    *
CBE GROUP, INC., PREMIERE           *
CREDIT OF NORTH AMERICA, LLC,       *
GC SERVICES LIMITED PARTNERSHIP, *
VALUE RECOVERY HOLDINGS, LLC, *
WINDHAM PROFESSIONALS, INC.,        *
AUTOMATED COLLECTION                *
SERVICES, INC., FMS INVESTMENT      *
CORP., TEXAS GUARANTEED             *
STUDENT LOAN CORP., ALLTRAN         *
EDUCATION, INC.                     *
       Intervenor-Defendants.       *
                                    *
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        Case 1:17-cv-00449-TCW Document 204 Filed 11/20/17 Page 2 of 2



                                     TRANSFER ORDER

       For the efficient administration of justice, the Clerk of Court is directed to transfer the
above-captioned cases to the Honorable Thomas C. Wheeler, pursuant to Rule of the United States
Court of Federal Claims 40.1(b).

       IT IS SO ORDERED.

                                                            s/ Susan G. Braden
                                                            SUSAN G. BRADEN
                                                            Chief Judge




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